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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

Lennisha Reed et al.,                          )
                                               )
               Plaintiff,                      )     Case No. 3:20-cv-01139-SPM
                                               )
               v.                              )
                                               )
Wexford Health Sources, Inc., et al.,          )       Judge Stephen P. McGlynn
                                               )
               Defendants.                     )


              PLAINTIFFS’ MOTION TO DEEM FILED NUNC PRO TUNC

       Plaintiffs, through undersigned counsel, respectfully move the Court to have Plaintiffs'

motion for extension of time (ECF 170) deemed filed on May 27, 2024, nunc pro tunc.

       During the day and evening on May 27, Plaintiffs’ counsel was required to attend to the

needs of one of his children, which delayed counsel’s completion of the motion for extension.

Counsel was ultimately able to complete the motion, but was not able to do so by the end of May

27.

       The delay, due to a family matter, will not affect the Court's ability to adjudicate Plaintiffs’

motion for extension in a timely manner.

       WHEREFORE, Plaintiffs respectfully request that the Court deem the motion for

extension of time (ECF 170) filed on May 27, 2024, nunc pro tunc.



Dated: May 28, 2024                                    Respectfully submitted,



                                                       /s/ Steve Weil
                                                       Steve Weil
                                                       Counsel for Plaintiffs
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